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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NEW YORK
                                BROOKLYN DIVISION

In re: ANGELA REYES                          §       Case No. 19-45878
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Michael J. Macco, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 09/26/2019.

       2) The plan was confirmed on NA.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was dismissed on 01/23/2020.

       6) Number of months from filing or conversion to last payment: 2.

       7) Number of months case was pending: 6.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $0.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)            $ 7,000.00
      Less amount refunded to debtor(s)                      $ 6,650.00
NET RECEIPTS                                                                        $ 350.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                      $ 0.00
       Court Costs                                                $ 0.00
       Trustee Expenses & Compensation                         $ 350.00
       Other                                                      $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                    $ 350.00

Attorney fees paid and disclosed by debtor(s):                      $ 0.00



Scheduled Creditors:
Creditor                                       Claim       Claim          Claim   Principal    Interest
Name                                Class   Scheduled    Asserted       Allowed       Paid        Paid
CARLOS GONZALES, ESQ.               Lgl          0.00        NA             NA        0.00        0.00




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Summary of Disbursements to Creditors:

                                                Claim                Principal            Interest
                                                Allowed              Paid                 Paid
Secured Payments:
      Mortgage Ongoing                              $ 0.00               $ 0.00               $ 0.00
      Mortgage Arrearage                            $ 0.00               $ 0.00               $ 0.00
      Debt Secured by Vehicle                       $ 0.00               $ 0.00               $ 0.00
      All Other Secured                             $ 0.00               $ 0.00               $ 0.00
TOTAL SECURED:                                      $ 0.00               $ 0.00               $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00               $ 0.00               $ 0.00
        Domestic Support Ongoing                    $ 0.00               $ 0.00               $ 0.00
        All Other Priority                          $ 0.00               $ 0.00               $ 0.00
TOTAL PRIORITY:                                     $ 0.00               $ 0.00               $ 0.00

GENERAL UNSECURED PAYMENTS:                         $ 0.00               $ 0.00               $ 0.00



Disbursements:

       Expenses of Administration                 $ 350.00
       Disbursements to Creditors                    $ 0.00

TOTAL DISBURSEMENTS:                                                   $ 350.00




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 04/03/2020                        By: /s/ Michael J. Macco
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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